                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    R.S., a Minor, by and through her               )
    Guardian SARAH DOVER, individually              )
    and on behalf of all similarly situated         )
    individuals,                                    )
                                                    )
            Plaintiff,                              )       Case No. 22-cv-03479
                                                    )
                            v.                      )       Hon. Martha M. Pacold
                                                    )
    IDOLOGY, INC., a Georgia corporation,           )
                                                    )
            Defendant.                              )

                     FIRST AMENDED CLASS ACTION COMPLAINT

       Plaintiff R.S., a Minor, by and through her Guardian Sarah Dover (“Plaintiff”), individually

and on behalf of all similarly situated individuals, brings this First Amended Class Action

Complaint against Defendant IDology, Inc. (“Defendant”) for its violations of the Illinois

Biometric Information Privacy Act, 740 ILCS 14/1, et seq. (“BIPA”), and to obtain redress for

persons injured by its conduct. Plaintiff alleges the following based on personal knowledge as to

Plaintiff’s own experiences, and as to all other matters, upon information and belief, including an

investigation conducted by Plaintiff’s attorneys.

                                       INTRODUCTION

       1.      BIPA defines a “biometric identifier” as any personal feature that is unique to an

individual, including face scans, voice prints, handprints, fingerprints and palm scans. “Biometric

information” is any information based on a biometric identifier, regardless of how it is converted

or stored. 740 ILCS § 14/10. Collectively, biometric identifiers and biometric information are

known as “biometrics.”
        2.      This case is about an internet-based identity verification technology company

capturing, collecting, storing, using and disseminating Plaintiff’s and other consumers’ biometric

identifiers and/or biometric information without regard to BIPA and the privacy rights that BIPA

protects.

        3.      In an effort to facilitate identity verification for its customers who require swift

verification and/or onboarding solutions, Defendant collects consumers’ biometrics in the form of

their facial geometry so it can verify their ages and identities.

        4.      Consumers who seek to purchase and/or use services from Defendant’s customers

are required to undergo Defendant’s identity and age-verification process, which involves uploading

a photo ID, such as a driver’s license or passport. Defendant then requires the consumer to upload

a separate photograph of their face (i.e. a “selfie”).

        5.      Once the photograph is uploaded, Defendant uses facial recognition technology,

which extracts biometric facial geometry scans from the picture on the consumer’s ID and the

separate “selfie” picture, to match the faces appearing in the photo ID and selfie. This process

enables Defendant to conduct both identity verification and age verification on behalf of its clients.

        6.      Recognizing that biometrics present unique security concerns, the Illinois

Legislature enacted BIPA specifically to regulate companies that collect and store Illinois citizens’

biometrics. BIPA provides, inter alia, that private entities, such as Defendant, may not collect,

capture, purchase, or otherwise obtain an individual’s biometric identifiers, such as facial

geometry, or any biometric information, including any data regardless of the manner in which it is

converted or stored, unless they first:

                    a. inform that person in writing that biometric identifiers or biometric

                        information will be collected or stored;



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                   b. inform that person in writing of the specific purpose and the length of

                         term for which such biometric identifiers or biometric information is

                         being collected, stored and used; and

                   c. receive a written release from the person for the collection of their

                         biometric identifiers or biometric information.

740 ILCS 14/15(b)(1)-(3).

       7.      Also, private entities, such as Defendant, may not obtain and/or possess an

individual’s biometrics unless they make publicly available written retention guidelines for

permanently destroying biometric identifiers and biometric information. 740 ILCS 14/15(a).

       8.      In addition, private entities are prohibited from profiting from an individual’s

biometric identifiers or biometric information, as well as disclosing or disseminating the same to

third parties without informed consent. 740 ILCS 14/15(c), (d).

       9.      Plaintiff brings this action for statutory damages and other remedies as a result of

Defendant’s conduct in violating her biometric privacy rights under BIPA.

       10.     Compliance with BIPA is straightforward and minimally-burdensome. For

example, the necessary disclosures may be accomplished through a single sheet of paper or the

electronic equivalent.

       11.     BIPA’s requirements bestow upon consumers a right to privacy in their biometrics

and a right to make an informed decision when electing to provide or withhold her/her most

sensitive information and on what terms.

       12.     BIPA’s statutory scheme requires that private entities like Defendant make specific

disclosures to consumers prior to collecting their biometrics, which allows consumers the

opportunity to make an informed choice when choosing to provide their biometrics. Unlike other



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statutes that only create a right of action if there is a qualifying data breach, BIPA strictly regulates

the manner in which entities may collect, store, and use biometrics and creates a private right of

action for lack of statutory compliance.

        13.     Notwithstanding the clear and unequivocal requirements of the law, Defendant

disregards Illinois citizens’ statutorily protected privacy rights and unlawfully collects, stores,

disseminates and uses individuals’ biometrics through its invasive facial recognition program.

        14.     Defendant collects the facial geometry of its clients’ customers in Illinois without

first obtaining those individuals’ informed written consent and without providing written

disclosures regarding its purpose for collecting their biometrics and disclosing its retention

practices, as required by BIPA.

        15.     Accordingly, Plaintiff brings this action for damages and other legal and equitable

remedies resulting from the illegal actions of Defendant in capturing, collecting, storing, using,

and disclosing her biometrics, and those of hundreds of other consumers throughout the state of

Illinois.

        16.     On behalf of herself and the proposed Class defined below, Plaintiff seeks an

injunction requiring Defendant to comply with BIPA, as well as an award of statutory damages to

the Class members, together with costs and reasonable attorneys’ fees.

                                                 PARTIES

        17.     Defendant IDology, Inc. is a Georgia corporation that conducts business throughout

Illinois.

        18.     Plaintiff is a natural person and a resident of Illinois.




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                                 JURISDICTION AND VENUE

       19.     This Court may assert subject matter jurisdiction over this matter pursuant to the

Class Action Fairness Act, 28 U.S.C. § 1332(d) et seq., because this case is a class action in which

the matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs;

there are greater than 100 putative class members; at least one putative class member is a citizen

of a state other than Defendant; and none of the exceptions under subsection 1332(d) apply.

       20.     This Court may assert personal jurisdiction over Defendant, because Defendant is

knowingly doing business within Illinois and this District, and knowingly transacts business within

Illinois such that it has sufficient minimum contacts with Illinois and/or has purposely availed

itself of Illinois markets to make it reasonable for this Court to exercise jurisdiction over

Defendant, and because Plaintiff’s claims arise out of Defendant’s unlawful in-state actions when

Defendant obtained biometric data in Illinois from Illinois residents, including Plaintiff.

                                  FACTUAL BACKGROUND

       21.     In order to provide its clients with biometric identity authentication services,

Defendant developed a proprietary biometrically-enabled Application Programming Interface (or

“API”).

       22.     Defendant incorporates its identity-verification platform into its clients’ mobile or

internet-based applications, where it collects and analyzes individuals' facial biometrics in order

to authenticate their identities for its clients, including its many clients that Defendant knows do




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business in Illinois, such as the online brokerage Redfin,1 the online sportsbook Pointsbet,2 and

Roblox, the maker of a popular children’s video game.

        23.     Several of Defendant’s National Sales Executives reside in the Chicago area,

permitting Defendant to target the Illinois marketplace, and Defendant’s representatives regularly

attend promotional and marketing conferences in Chicago.3

        24.     Indeed, for marketing purposes, Defendant touts its superior ability to detect

fraudulent transactions (including both the perpetrator and the victim) originating in Illinois

through the use of geolocation tracking technology:




    (https://www.idology.com/blog/using-location-to-stop-fraud/) (last accessed Aug. 2, 2022)



1
  https://www.idology.com/press-release/idology-improves-online-home-buying-process-for-real-estate-
industry/ (last accessed August 2, 2022) (promoting Defendant’s relationship with Redfin and Redfin’s
availability in the Chicago metro area).
2
  https://il.pointsbet.com/terms-and-conditions (identifying Defendant as its identity verification vendor in
Illinois Terms and Conditions).
3
  See https://twitter.com/idology/status/1504805447659888648 (last accessed Aug. 2,
2022); https://www.globenewswire.com/fr/news-release/2015/08/11/759758/19383/en/IDology-CEO-
John-Dancu-Invited-to-Speak-on-Payment-Security-at-2015-Mobile-Payment-Conference.html (last
accessed Aug. 2. 2022).


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        25.     Defendant’s API performs identity verification by requiring the user to present

some form of identification that features a picture of their face, from which it collects a facial

biometric scan, and then obtaining a "selfie," i.e. a live picture of the user's face, from which it

obtains a separate facial biometric scan. Defendant then compares the facial geometries obtained

from the identifying document and the selfie. If Defendant’s platform determines that the facial

biometrics from the two sets of pictures match, the user's identity is verified.

        26.     Between 2018 and 2019, Plaintiff registered with Roblox, one of Defendant’s

clients doing business in Illinois, which requires a fast onboarding process for its developers (many

of whom are minors) involving identity and age verification. Plaintiff registered with Roblox in Illinois.

        27.     In order to be accepted into one of Roblox’s developers program, Plaintiff, while

located in Illinois, was required to upload her school identification documents and a “selfie”

photograph to Defendant’s identity verification API.

        28.     When Plaintiff engaged with Defendant’s age and identity verification API,

Defendant collected the Illinois IP address and geolocation of the device Plaintiff used to upload

her identification documents and selfie picture. Thus, Defendant knew its API was interacting with

an individual located in the state of Illinois.

        29.     Using its proprietary facial recognition and matching technology, Defendant

collected, stored, and analyzed Plaintiff’s facial geometry in Illinois in order to compare her face

with the photograph on her ID, and thus verify her age and identity.

        30.     On information and belief, Defendant then disclosed and/or disseminated Plaintiff’s

biometric data to third party business partners, including vendors and contractors it uses for data

processing and data storage purposes, in order to facilitate future transactions, but Defendant failed

to obtain Plaintiff’s consent to do so as required by 740 ILCS 14/15(d).



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       31.     Prior to taking Plaintiff’s biometrics, Defendant did not seek, and Plaintiff never

provided, any written consent relating to the collection or capture of her biometrics as required by

740 ILCS 14/15(b). Defendant also failed to provide Plaintiff with written disclosures informing

her of the specific purpose and length of term for which her biometrics were being collected.

       32.     Though Defendant came into possession of Plaintiff’s biometrics, Defendant failed

to make publicly available the written biometric retention and destruction policy required by 740

ILCS 14/15(a).

       33.     Defendant also unlawfully profited from the facial biometrics it obtained from

consumers, including Plaintiff and the other Class members, as, on information and belief,

Defendant is paid by its clients for access to Defendant’s facial recognition and matching platform

on a per-biometric-verification basis, such that Plaintiff’s and other Illinois residents’ biometric

data is an essential element of Defendant’s business, in violation of 740 ILCS 14/15(c).

       34.     Defendant’s violations of BIPA are particularly egregious because Defendant

advises prospective clients about privacy laws and regulations such as the California Consumer

Privacy Act and the European Union’s General Data Protection Regulation. Thus, Defendant

knows that its collection of sensitive personal information such as biometrics subjects it to privacy

laws like BIPA, but Defendant has nonetheless failed to comply.

       35.     By failing to comply with BIPA, Defendant has violated Plaintiff’s substantive state

rights to biometric information privacy.

                                    CLASS ALLEGATIONS

       36.     Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), Plaintiff brings this action on her

own behalf and on behalf of a class (the “Class”) defined as follows:

               Class: All individuals whose biometrics were captured, collected, stored, used,
               transmitted, and/or disseminated by Defendant or its technology within the state of


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                 Illinois any time within the applicable limitations period.

        37.      Excluded from the Class are any members of the judiciary assigned to preside over

this matter; any officer or director of Defendant; and any immediate family member of such

officers or directors.

        38.      Upon information and belief, there are at least hundreds of members of the Class,

making the members of the Class so numerous that joinder of all members is impracticable.

Although the exact number of members of the Class is currently unknown to Plaintiff, the members

can be easily identified through Defendant’s records.

        39.      Plaintiff’s claims are typical of the claims of the members of the Class she seeks to

represent, because the factual and legal bases of Defendant’s liability to Plaintiff and the other

members are the same, and because Defendant’s conduct has resulted in similar injuries to Plaintiff

and to the Class. As alleged herein, Plaintiff and the Class have all suffered damages as a result of

Defendant’s BIPA violations.

        40.      There are many questions of law and fact common to the claims of Plaintiff and the

Class, and those questions predominate over any questions that may affect individual members.

Common questions for the Class include, but are not limited to, the following:

              a. Whether Defendant collects, captures, stores, uses, or disseminates the biometrics

                 of the members of the Class;

              b. Whether Defendant obtained a written release from the members of the Class

                 before capturing, collecting, or otherwise obtaining their biometrics;

              c. Whether Defendant provided a written disclosure to the members of the Class that

                 explains the specific purposes, and the length of time, for which biometrics were

                 being collected and used before collecting such biometrics;



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             d. Whether Defendant disseminated or disclosed the Class members’ biometrics to

                third parties with their consent;

             e. Whether Defendant’s conduct violates BIPA;

             f. Whether Defendant’s violations of BIPA are willful or reckless;

             g. Whether Defendant’s violations of BIPA are negligent; and

             h. Whether Plaintiff and other Class members are entitled to damages and injunctive

                relief.

       41.      Absent a class action, most members of the Class would find the cost of litigating

their claims to be prohibitively expensive and would thus have no effective remedy. The class

treatment of common questions of law and fact is superior to multiple individual actions or

piecemeal litigation in that it conserves the resources of the courts and the litigants and promotes

consistency and efficiency of adjudication.

       42.      Plaintiff will fairly and adequately represent and protect the interests of the other

members of the Class she seeks to represent. Plaintiff has retained counsel with substantial

experience in prosecuting complex litigation and class actions. Plaintiff and her counsel are

committed to vigorously prosecuting this action on behalf of the other members of the Class and

have the financial resources to do so. Neither Plaintiff nor her counsel has any interest adverse to

those of the other members of the Class.

       43.      Defendant has acted and failed to act on grounds generally applicable to Plaintiff

and the other members of the Class, requiring the Court’s imposition of uniform relief to ensure

compatible standards of conduct toward the members of the Class and making injunctive or

corresponding declaratory relief appropriate for the Class as a whole.




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                                           COUNT I
     Violation of the Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq.,
                             (On behalf of Plaintiff and the Class)

         44.      Plaintiff incorporates the foregoing allegations as if fully set forth herein.

         45.      Defendant is a private entity under BIPA.

         46.      As described above, Plaintiff and the Class members had their biometric identifiers,

in the form of their facial geometry, and/or information or data derived therefrom, i.e. biometric

information, collected, captured, received or otherwise obtained by Defendant. See 740 ILCS

14/10.

         47.      Defendant captured, collected, stored, used, and otherwise obtained Plaintiff’s and

the Class members’ biometrics through its biometric identity verification service without obtaining

their informed written consent and without complying with BIPA.

         48.      Defendant also violated BIPA when it came into possession of biometric identifiers

and/or biometric information and did not make publicly available a biometric retention and

destruction policy.

         49.      Upon information and belief, Defendant disclosed or disseminated the biometric

identifiers and/or biometric information of Plaintiff and the Class members to at least one third

party business partner for data storage or redundancy purposes without obtaining their consent to

do so.

         50.      Plaintiff and the Class members have been aggrieved by Defendant’s failures to

adhere to the following BIPA requirements, with each such failure constituting a separate and

distinct violation of BIPA:

               a. Defendant failed to inform Plaintiff and the Class members in writing that

                  their biometrics were being collected and stored, prior to such collection or



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                 storage, as required by 740 ILCS 14/15(b)(1);

             b. Defendant failed to inform Plaintiff and the Class members in writing of the

                 specific purpose for which their biometrics were being captured, collected,

                 stored, and used, as required by 740 ILCS 14/15(b)(2);

             c. Defendant failed to inform Plaintiff and the Class members in writing of the

                 specific length of term their biometrics were being captured, collected,

                 stored, and used, as required by 740 ILCS 14/15(b)(2);

             d. Defendant failed to obtain a written release from Plaintiff and the Class

                 members, as required by 740 ILCS 14/15(b)(3);

             e. Defendant failed to make publicly available a written retention schedule

                 detailing the length of time for which the biometrics are stored and/or

                 guidelines for permanently destroying the biometrics they store, as required

                 by 740 ILCS 14/15(a); and

             f. Defendant failed to obtain informed consent to disclose or disseminate the

                 Class members’ biometrics to its third party affiliates and business partners,

                 as required by 740 ILCS 14/15(d)(1).

       51.      As alleged herein, Defendant also unlawfully profited from the facial biometrics it

obtained from its clients, including Plaintiff and the other Class members, as Defendant was paid

by its clients for their use of Defendant’s biometric verification platform on a per-verification

basis, such that biometrics constituted a necessary element of Defendant’s for-profit model. 740

ILCS 14/15(c).




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       52.     By capturing, collecting, storing, using, and disseminating Plaintiff’s and the Class

members’ biometrics as described herein, Defendant denied Plaintiff their respective rights to

biometric information privacy, as set forth in BIPA.

       53.     BIPA provides for statutory damages of $5,000 for each willful and/or reckless

violation of BIPA and, alternatively, damages of $1,000 for each negligent violation of BIPA.

       54.     Defendant’s violations of BIPA, as set forth herein, were knowing and willful, or

were at least in reckless disregard of the statutory requirements, as BIPA has been in existence

since 2008, and BIPA’s minimally-burdensome compliance regime may be satisfied with a single

sheet of paper or a single webpage screen. Defendant knows that its business model and collection

of sensitive consumer data subject it to various privacy regimes, such as the California Consumer

Privacy Act and the European Union’s General Data Protection Regulation, but Defendant has

nonetheless ignored BIPA’s requirements. Alternatively, Defendant negligently failed to comply

with BIPA’s disclosure, consent, and policy-posting requirements.

       55.     Accordingly, with respect to Count I, Plaintiff, on behalf of herself through her

Guardian, and the proposed Class, prays for the relief set forth below.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the proposed Class, respectfully requests

that this Court enter an Order:

               a.    Certifying the Class as defined above, appointing Plaintiff as class

                     representative and the undersigned as class counsel;

               b.    Declaring that Defendant’s actions, as set forth herein, violate BIPA;

               c.    Awarding injunctive and equitable relief as necessary to protect the interests

                     of Plaintiff and the Class by requiring Defendant to comply with BIPA



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                     requirements for the capture, collection, storage, use, and dissemination of

                     biometric identifiers and biometric information;

               d.    Awarding statutory damages in excess of $50,000, including $5,000 for each

                     willful and/or reckless violation of BIPA, pursuant to 740 ILCS 14/20(2), and

                     $1,000 for each negligent violation of BIPA, pursuant to 740 ILCS 14/20(1);

               e.    Awarding reasonable attorneys’ fees, costs, and other litigation expenses

                     pursuant to 740 ILCS 14/20(3);

               f.    Awarding pre- and post-judgment interest, as allowable by law; and

               g.    Awarding such further and other relief as the Court deems just and equitable.

                                         JURY DEMAND

       Plaintiff requests trial by jury of all claims that can be so tried.

Dated: August 2, 2022                          Respectfully submitted,

                                               R.S., a Minor, by and through her Guardian
                                               SARAH DOVER, individually and on behalf of
                                               similarly situated individuals

                                       By:     /s/ Timothy P. Kingsbury
                                               One of Plaintiff’s Attorneys

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